Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 1 of 19 PagelD #:66

From: Fowler,.Lelania <Lelania.Fowler@cdtfa.ca.gov>

Sent: Thursday, March | | 2018 Co
Subject: RE:

The Registration Requirement is based on my investigation and our telephone conversations.

lam doing my due diligence in order to provide you with your options and maintain a record for
a potential Audit Referral if you choose not to register.

If you choose not to voluntarily comply to obtain a sellers permit these are some of the possible

   
 

» Law codes
https://www.boe.ca.gov/lawguides/business/archive/2010/voli/sutl/sale
s-and-use-tax-law-chapter10-all.html

e 6071. Unlawful acts. A person who engages in business as a seller
in this state without a permit or permits or after a permit has
been suspended or revoked, and each officer of any corporation
which so engages in business, is guilty of a misdemeanor
punishable as provided in Section 7153.

« 7153. Same. Any violation of this part by any person, except as
otherwise provided, is a misdemeanor, Each offense shall be
punished by a fine of not less than one thousand dollars ($1,000)
and not more than five thousand dollars ($5,000), or
imprisonment not exceeding one year in the county jail, or both
the fine and imprisonment in the discretion of the court.

e 7153.5. Same. Notwithstanding any other provision of this part,
any person who violates this part with intent to defeat or evade
the reporting, assessment, or payment of a tax or an amount due
required by law to be made is guilty of a felony when the amount
of unreported tax liability aggregates twenty-five thousand dollars
($25,000) or more in any 12-consecutive-month period. Each
offense shall be punished by a fine of not less than five thousand
dollars ($5,000) and not more than twenty thousand dollars
($20,000), or imprisonment for 16 mo
years, or both the fine and imprisonment in the discretion of the
court.

 

Business Taxes Law Guide - SALES AND USE TAX LAW

Exhibit 3
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 2 of 19 PagelD #:67

www.boe.ca.gov

The mission of the State Board of Equalization is to serve the public through fair, effective,
and efficient tax administration

Thank You,

Lelania Fowler
Tax Technician Il

California Department of Tax and Fees Administration
3321 Power Inn Rd., Ste. 210
Sacramento, CA 95826-3889

Phone: 916-227-6636 | Fax: 916-227-6641
E: Lelania.Fowler@cdtfa.ca.gov | www.cdtfa.ca.gov
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 3 of 19 PagelD #:68

 

From: Fowler, Lelania <Lelania.Fowler@cdtfa.ca.gov>
Sent: Wednesday, March [7 2018 Co
To:

  

Subject:

Good Morning,

lam writing to set up an appointment with you for registration.

It takes about 15-20 minutes.

/ am available from 7:00 a.m. to 3:00 P.M. Pacific Standard Time, Monday through Friday.

Please let me know when you would like me to call you to complete registration.

 

| also wanted to advise you that operating unlawfully you can be pros
and billed, become unable to receive penalty relief per :

Law codes
https://www.boe.ca.gov/lawguides/business/archive/2010/vol1/sutl/sales-
and-use-tax-law-chapter10-all.html

Business Taxes Law Guide - SALES AND USE TAX LAW

www.boe.ca.gov

The mission of the State Board of Equalization is to serve the public through fair, effective,
and efficient tax administration

e 6071. Unlawful acts. A person who engages in business as a seller
in this state without a permit or permits or after a permit has
been suspended or revoked, and each officer of any corporation
which so engages in business, is guilty of a misdemeanor
punishable as provided in Section 7153.

« 7153. Same. Any violation of this part by any person, except as
otherwise provided, is a misdemeanor. Each offense shall be
punished by a fine of not less than one thousand dollars ($1,000)
and not more than five thousand dollars ($5,000), or
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 4 of 19 PagelD #:69

Thank You,

Lelania Fowler
Tax Technician Ill

imprisonment not exceeding one year in the county jail, or both
the fine and imprisonment in the discretion of the court.

7153.5. Same. Notwithstanding any other provision of this part,
any person who violates this part with intent to defeat or evade
the reporting, assessment, or payment of a tax or an amount due
required by law to be made is guilty of a felony when the amount
of unreported tax liability aggregates twenty-five thousand dollars
($25,000) or more in any 12-consecutive-month period. Each
offense shall be punished by a fine of not less than five thousand
dollars ($5,000) and not more tt
($20,000), or imprisonment fc
years, or both the fine and im
court.

 

 

  
 
 

 

California Department of Tax and Fees Administration

3321 Power Inn Rd., Ste. 210
Sacramento, CA 95826-3889

Phone: 916-227-6636 | Fax: 916-227-6641
E: Lelania.Fowler@cdtfa.ca.gov | www.cdtfa.ca.gov
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 5 of 19 PagelD #:70

 

 

STATE OF CALIFORNIA z
CALIFORNIA DEPARTMENT OF TAX AND FEE ADMINISTRATION EDMUND G. BROWN JR.
OUT-OF-STATE OFFICE Governor
3921 POWER INN ROAD, SUITE 130, SACRAMENTO CA 95826-3893 : MARYBEL BATJER
4-016-227-8600 + FAX 1-916-227-6641 ‘Secratary, Goverment Operations Agency
www. cdila.ca.gov
NIGOLAS MARDUROS
« Director

‘Letter Date: September [MM 2018
Case ID:

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_ tanner Sn nt tea ane sit gen cine ae

As a result of our review of the questionnaire regarding your sales activities in California as well as an independent
investigation, your company is required to register with the California Department of Tax and Fee Administration (CDTFA)
pursuant to Revenue and Taxation Code (R&TC) section 6203

We provide the convenience of online registration at www.cdffa.ca.gov. From the homepage, select Register and follow
the prompts. Your start date is the date your firm was first engaged in business in California (see R&TC section 6203).
Please note, pursuant to R&TC section 6071, a person who is engaged in business as a seller in this state without a
permit is in violation of the law and each officer of a corporation ms demeanor. Failure to comply by
October 1, 2018, may result in a Notice of Determination (billing) being issued, as authorized under R&TC section 6487.

   

If you have further questions regarding this matter or need assistance with the requirements of this letter, please feel free
to contact me at the telephone number listed above.

Sincerely,

Nicole Campball
Business Taxes Representative
venein a oe cee . a Out-of-State Office

CDTFA-1032-B REV, 2 (5-18)
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 6 of 19 PageID #:71

From: Fong, Liane <Liane.Fong@cdtfa.ca.gov>

Date: Thu, Jan 24,2019 at

Subject: California Department of Tax and Fee Administration/ Case ID #693561
To:

in the process of applying for your California Sellers Permit, you have provided a start date of 02/15/19
for your sales and use tax account.

Under current law, you are considered the retailer of the inventory you sell through a fulfillment center
and other marketplaces and you are required to provide the CDTFA with an accurate start date that
reflects when your nexus in California first commenced. In accordance with the Revenue and Taxation
Code 6487, failure to comply may result in the necessary enforcement action including an audit and
. nee as a

   
 

     

     

If you need to change your start to reflect when you first commence California nexus, please contact me
or our office at (916}.227-6600.

Enclosure: Regulation 1684

LIANE FONG

California Department of Tax and Fee Administration
Out of State District Office

Phone: 916-227-6662| Fax: 916-227-6641

E: lfong@cdtfa.ca.gov | www.cdtfa.ca.gov
won CASe:.1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 7 of 19 PagelD #:72

 

 

 

STATE OF CALIFORNIA _ _

CALIFORNIA DEPARTMENT OF TAX AND FEE ADMINISTRATION EDMUND G. BROWN I

OUT-OF-STATE OFFICE an

3321 POWER INN ROAD, SUITE 130, SACRAMENTO CA 95826-3893 MARYBEL BATIE

4-916-227-6600 « FAX 1-016-227-6641 Secretary. Government Operations Agent

www. cdifa.ca.gov NICOLAS MADURO
Direct

Letter Date: February | Ee 9
Case ID:

 

Dear [ae To Whom it May Concern):

In the August 15, 2018 letter, the California Department of Tax and Fee Administration (CDTFA) informed you of your
firm's requirements to register with us as mandated by the State of California under the Sales and Use Tax Law. As of th
date of this letter, we have not received your response.

 

We provide the convenience of online registration at www.cdifa.ca.gov. From the homepage, select Register and follow
the prompts. Your start date is the date your firm was first engaged in business in California (see R&TC section 6203).
Please note, pursuant to R&TC section 6071, a person who is engaged in business as a seller in this state without.a
permit is in violation of the law and each officer of a corporation. may be guilty of a misdemeanor. Failure to comply by
March 7, 2019, may result in a Notice of Determination (billing) being issued, as authorized under R&TC section 6487.

lf you have further questions regarding this matter or need assistance with the requirements of this letter, please feel fre
fo contact me at the telephone number listed above.

Sincerely,

Becky Smith

Tax Technician

Phone 916-227-6663
rebecca.smith@cdtfa.ca.gov
Out-of-State Office... .... ..--.

eR,

CDOTFA-1032-B REV. 2 (5-718)
73

01/07/21 Page 8 of 19 PagelD #

4-1 Filed:

21-cv-00096 Document #

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of PRINS
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 9 of 19 PagelD #:74

From: Khan, Saman <Saman.Khan@cdtfa.ca.gov>

Date: Wed, Feb ff 2018 at aaa

Subject: California Department of Tax and Fee Administration
To:"

Hello Mr. | |

A follow up email was sent to you on 12/26/17 regarding filing of your past period liabilities,
and to see if you had any questions. Your account is delinquent for period(s): 3Q14-2Q17.

Electronic filing is the California Department of Tax and Fee Administration method for filing
your sales and use tax returns and making payments. Log into our website

at www.cdtfa.ca.gov to utilize our online services and become a registered user. The express
login code for your account is provided below. Please be aware

that interest continues to accrue on any unpaid tax due.

As an advisory, any delinquent tax amount is subject to penalty and interest. Relief from
penalty is possible if your failure to register and file timely

was due to reasonable cause. You may request relief from penalties.

Please file your returns online by February 08, 2018. Failure to file the required returns will
result in your account

being referred to our audit section for issuance of an estimated determination.

If you wish to go on a payment plan here is a link to apply for one:

https://www.cdtfa.ca.gov/services/#HOverview

Please feel free to call or email me with your questions at any time. Your case has been
assigned to me now.
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 10 of 19 PageID #:75

Past Period Liability for Account
Permit: SC OHB 103107481

Express Login Code: t922445j

Sincerely,

Saman khan

BTCS 1

California Department of Tax and Fee Administration
Out of State Office MIC: OH

3321 Power Inn Rd STE 130

Sacramento CA 95826

Phone: 916-227-6653

Fax: 916-227-6641

Email: saman.khan@cdtfa.ca.gov

www.cdtfa.ca.gov

 

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intended only for the use of the person(s) name herein as sender and recipients of the
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Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 11 of 19 PagelD #:76

copying of the contents of the attached message by individuals other than the sender or
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Fee Administration) by e-mail or at the sender's telephone number, then immediately delete this
e-mail. Persons who copy or disclose such confidential information are subject to applicable
legal penalties.

Any written advice is intended to provide general information regarding the application of the
tax and will not serve as a basis for relief of liability under Revenue and Taxation Code section
6596.
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 12 of 19 PagelID #:77

 

 

 

 

 

STATE OF CALIFORNIA ee
CALIFORNIA DEPARTMENT OF TAX AND FEE ADMINISTRATION EDMUND G. BROV
OUT-OF-STATE OFFICE Gs
3321 POWER INN-ROAD, SUITE 130, SACRAMENTO CA 95826-3893 MARYBEL B.
4-916-227-8600 «FAX 1-916-227-6641 Secretary, Government Operations 4
www.cdifa.ca.gov

NICOLAS MAC

Letter Date:
Case ID:

   

  

fae (Or To Whom It May Concern):

In the August 15, 2018 letter, the California Department of Tax and Fee Administration (CDTFA) informed you of your
firm’s requirements to register with us as mandated by the State of California under the Sales and Use Tax Law. As c
date of this letter, we have not received your response.

We provide the convenience of online registration at www.cdtfa.ca.gov. From the homepage, select Register and follc
the prompts. Your start date is the date your firm was first engaged in business in California (see R&TC section 6203
Please note, pursuant to R&TC section 6071, a person who is engaged in business as a seller in this state without a

permit is in violation of the law and each officer of a corporation may be guilty of a misdemeanor. Failure to comply &
March 7, 2019, may result in a Notice of Determination (billing) being issued, as authorized under R&TC section 648°

If you have further questions regarding this matter or need assistance with the requirements of this letter, please feel
to contact me at the telephone number listed above.

Sincerely,

Becky Smith

Tax Technician

Phone 916-227-6663

rebecca.smith@cdtfa.ca.gov
Out-of-State. Office...

 
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 13 of 19 PagelID #:78

From: Fong, Liane <Liane.Fong@cdtfa.ca.gov>

Date: Thu, Jan 24, 2019 at

Subject: California Department of Tax and Fee Administration/ Case ID #693561
To:

In the process of applying for your California Sellers Permit, you have provided a start date of 02/15/19
for your sales and use tax account.

Under current law, you are considered the retailer of the inventory you sell through a fulfillment center
and other marketplaces and you are required to provide the CDTFA with an accurate start date that
reflects when your nexus in California first commenced. In accordance with the Revenue and Taxation
Code 6487, failure to comply may result in the necessary enforcement action including an audit and
issuance of deficiency determinations, the CDTFA c can issue determinations for up to eight years when
issuing a Notice of Determination(billing) for an unreported period.

 

If you need to change your start to reflect when you first commence California nexus, please contact me
or our office at (916) 227-6600.

Enclosure: Regulation 1684

LIANE FONG

California Department of Tax and Fee Administration
Out of State District Office

Phone: 916-227-6662| Fax: 916-227-6641

E: lfong@cdtfa.ca.gov | www.cdtfa.ca.gov
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 14 of 19 PagelID #:79

From: "Campbell, Nicole" <Nicole.Campbell@cdtfa.ca.gov>
Subject: California Department of Tax and Fee Administration
Date: July 13, 2018

   
 

Dear Controller,

Ainstate audit was conducted showing Po making sales to California

customers. Please complete the attached California Nexus Questionnaire by Monday July 16,
2018. If you have any questions please contact me.

Thank you

Nicole Campbell

Business Taxes Representative

California Department of Tax and Fee Administration
3321 Power Inn Rad., Suite 130, Sacramento, CA 95826-3893
Ph: 916-227-2907 ‘Fax: 916-227-6641

E-mail Nicole.Camphell@cdtfa.ca.gov / www.cdfta.ca.gov

Any answer given is intended to provide general information regarcing the apolication of tax based
on the information you have provided and will not serve for relief of lability under section 6596.

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Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 15 of 19 PagelD #:80

Date: Thu, Jan 24, 2019
Subject: California Department of Tax and Fee Administration a
i

Hello

This is a follow up email regarding delinquent returns for Eee You have delinquent periods
from 2014 through 2Q17. Please file returns as soon as possible and let me know once they are
completed.

Here is a link to log into your account:

https://onlineservices.cdtfa.ca.gov/ /#1

Let me know if you have any questions.

Thank you

Saman Khan

Tax Compliance Specialist, Out-of-State Office
California Department of Tax and Fee Administration
3321 Power Inn Rd., Ste. 130, Sacramento, CA 95826

Phone: 916-227-6653 Fax: 916-227-6641

https://www.cdtfa.ca.gov/taxes-and-fees/survey-hawd.aspx

Thank You for Connecting with Us:

 
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 16 of 19 PagelID #:81

www.cdtfa.ca.gov

California Department of
Tax and Fee Administration

 

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California Department of Tax and Fee Administration) by e-mail or at the sender's telephone number,
then immediately delete this e-mail. Persons who copy or disclose such confidential information are

subject to applicable legal penalties.

Any written advice is intended to provide general information regarding the application of the tax and
will not serve as a basis for relief of liability under Revenue and Taxation Code section 6596.
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 17 of 19 PagelID #:82

woneencens Forwarded message ----------

From: Fowler, Lelania <Lelania.Fowler@cdtfa.ca.gov>
Date Feb HZ, 2018
Subject:
To:

      

Dear a.

The California Department of Tax and Fee Administration (CDTFA) has issued your company
the permit

number listed above. Please refer to this number when corresponding with CDTFA.

Your company is required to file Sales and Use Tax returns on a Quarterly basis with a start date
of

9/5/2012. All sales of tangible personal property are retail sales and subject to tax, unless
supported by

documentation as being exempt. Electronic filing is the CDTFA’s method for filing your Sales
and Use Tax

returns and making payments. Publication 159, E-file Guide and other online services are
available on our

website, www.cdtfa.ca.gov.

You are required to file past due return(s) for the period(s) 3rd Quarter 2012 through 4th Quarter
2017 by

4/13/2018. I have attached BOE 504, A-B-C (XYZ letter) that can be used to contact your
customers to

determine if the sales were previously reported to the BOE. You should retain the completed
XYZ letters

and other documentation should it be requested at a later date.
Case: 1:21-cv-00096 Document #: 4-1 Filed: 01/07/21 Page 18 of 19 PagelD #:83

  

: sory, any delinquent tax amount is subject to penalty and interest. You may request
relief from

penalties; however interest is mandatory and enforced on all delinquent tax due.

For additional information, please visit our website at www.cdtfa.ca.gov to obtain, California
Sales and Use

Tax laws, regulations, publications and procedures. If you have any questions, please contact me
at the

number or email listed below.

Lelania Fowler
Tax Technician II

California Department of Tax and Fees Administration

3321 Power Inn Rd., Ste. 210
Sacramento, CA 95826-3889

Phone: 916-227-6636 | Fax: 916-227-6641

E: Lelania.Fowler@cdtfa.ca.gov | www.cdtfa.ca.gov
 
